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  7

  8
                         UNITED STATES DISTRICT COURT
  9
                       CENTRAL DISTRICT OF CALIFORNIA
 10

 11
      RENE GONZALEZ,                         Case No.: 5:22-cv-00718
 12
                 Plaintiffs,
 13                                          NOTICE OF REMOVAL OF
      vs.                                    ACTION ON THE BASIS OF
 14                                          FEDERAL QUESTION AND
      SPECIALIZED LOAN SERVICING,            DIVERSITY JURISDICTION
 15   LLC; GULF HARBOUR
      INVESTMENTS CORPORATION;
 16   and DOES 1 - 10, inclusive,
                                             [Removed from Riverside County
 17                     Defendants.          Superior Court, Case No.
                                             CVRI2201296]
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                           DEFENDANTS’ NOTICE OF REMOVAL
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  1         TO THE COURT CLERK AND ALL INTERESTED PERSONS:
  2         PLEASE TAKE NOTICE that defendants Specialized Loan Servicing,
  3   LLC (“SLS”) and Gulf Harbour Investments Corporation (“GHIC” and
  4   collectively, “Defendants”) hereby remove this action from the Superior Court of
  5   California for the County of Riverside to the United States District Court for the
  6   Central District of California, and in support thereof state:
  7                      THE PROCEDURAL REQUIREMENTS
  8                          FOR REMOVAL ARE SATISFIED
  9         1.     On April 1, 2022, plaintiff Rene Gonzalez (“Plaintiff”) commenced
 10   an action in the Superior Court of the State of California for the County of
 11   Riverside against Defendants, entitled Rene Gonzalez v. Specialized Loan
 12   Servicing, LLC, Gulf Harbour Investments Corporation, and Does 1-10, inclusive,
 13   Case No. CVRI2201296 (the “State Court Action”).
 14         2.     Defendants have not made a general appearance as to the Complaint
 15   in the matter and have not waived any jurisdictional issues in the State Court
 16   Action. Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of the pleadings
 17   received to date are attached hereto as Exhibit A.
 18         3.     Defendants were served with the Complaint effective April 7, 2022.
 19   This notice has been timely filed because it is being filed within 30 days of
 20   Defendants’ receipt of the Complaint.
 21         4.     A Case Management Conference has been scheduled in the State
 22   Court Action for October 3, 2022. No other hearings involving the parties have
 23   been set nor are any motions pending.
 24         5.     No previous request has been made for removal.
 25         6.     This action is removable to the instant Court because it originally
 26   could have been filed in this Court pursuant to 28 U.S.C. § 1441(a) and (b).
 27   Supplemental jurisdiction exists with respect to any other claims not subject to
 28   removal pursuant to 28 U.S.C. §§ 1367 and 1441(c).

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  1         7.        This Notice of Removal is brought on behalf of Defendants, who are
  2   the only named defendants in this case. As of the date of the filing of this Notice,
  3   Defendants are unaware of, and the docket in the State Court Action does not
  4   reflect, the service of process upon or the appearance of fictitious defendants Does
  5   1-10. See Salveson v. Western States Bankcard Ass’n, 731 F.2d 1423, 1429 (9th
  6   Cir. 1984), overruled on other grounds, Ethridge v. Harbor House Restaurant,
  7   861 F.2d 1389 (9th Cir. 1988) (requiring consent only from defendants “properly
  8   joined and served in the action.”); Emrich v. Touche Ross & Co., 846 F.2d 1190,
  9   1193 (9th Cir. 1988) (consent of fictitious defendants not required for purposes of
 10   removal).
 11                         FEDERAL QUESTION JURISDICTION
 12         8.        Pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction
 13   over this action because it is a civil action, the adjudication of which requires an
 14   analysis and construction of the laws of the United States. Specifically, the
 15   second claim is brought under TILA, alleging a violation of 12 C.F.R. § 1026.41
 16   and relief under 15 U.S.C. §§ 1640 and 1639, and the third claim alleges a
 17   violation of federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.
 18         9.        Plaintiff’s remaining state law claims are transactionally related to,
 19   and arise from, a common nucleus of operative facts as the federal law claims and
 20   are so related they form part of the same case or controversy. Specifically, all
 21   other claims for relief relate to Defendants’ servicing of the loan and attempt to
 22   foreclose with the loan balance purportedly made unlawful by TILA. Pursuant to
 23   28 U.S.C. § 1367(a), Plaintiff’s state claims are within this Court’s pendent
 24   jurisdiction.
 25                               DIVERSITY JURISDICTION
 26         10.       This action is removed to the instant Court pursuant to the existence
 27   of diversity jurisdiction between parties. 28 U.S.C. § 1441(b); 28 U.S.C. § 1332.
 28   Diversity jurisdiction exists because this is a civil action between citizens of

                               DEFENDANTS’ NOTICE OF REMOVAL
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  1   different states and the matter in controversy exceeds the sum of $75,000.00.
  2   Supplemental jurisdiction exists with respect to any remaining claims pursuant to
  3   28 U.S.C. § 1367. Diversity exists between the parties at the time the action was
  4   commenced and at the time of this notice of removal. Strotek Corp. v. Air Transp.
  5   Ass’n of Am., 300 F.3d 1129, 1131-32 (9th Cir. 2002).
  6         11.    The Complaint states that Plaintiff is and at all relevant times has
  7   been residing in Riverside, California. See Complaint, ¶1. Plaintiff is a citizen of
  8   California. See Lew v. Moss, 797 F.2d 747, 749 -750 (9th Cir. 1986) (a person is
  9   domiciled in a location where he or she has established a fixed habitation or abode
 10   in a particular place and intends to remain there permanently or indefinitely).
 11         12.    SLS is, and was at the time of the filing of the Complaint, a limited
 12   liability company which is formed in Delaware and has its principal office in
 13   Greenwood Village, Colorado. The citizenship of a limited liability company for
 14   diversity jurisdiction is the citizenship of its members. See Johnson v. Columbia
 15   Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). The sole member of
 16   SLS is Specialized Loan Servicing Holdings LLC, who is formed under the laws
 17   of the state of Delaware and whose principal place of business is in Colorado. The
 18   sole member of Specialized Loan Servicing Holdings LLC is Computershare
 19   Mortgage Services, Inc., who is formed under the laws of the state of Delaware
 20   and whose principal place of business is in Colorado. A corporation is a citizen of
 21   its state of incorporation and the state in which it has its principal place of
 22   business. 28 U.S.C. § 1332(c)(1). Accordingly, SLS and its parent companies are
 23   citizens of Delaware and Colorado for purposes of diversity.
 24         13.    GHIC is, and was at the time of the filing of the Complaint, a
 25   Delaware corporation with its principal place of business in Florida.
 26   Accordingly, GHIC is a citizen of Delaware and Florida. 28 U.S.C. § 1332(c)(1).
 27         14.    $75,000.00 is the threshold amount associated with diversity
 28   jurisdiction. 28 U.S.C. § 1332(a). The amount in controversy is determined from

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  1   the allegations and prayer for relief. St. Paul Mercury Indem. Co. v. Red Cab Co.,
  2   303 US 283, 289 (1938). Notwithstanding that the Complaint’s caption claims the
  3   amount in controversy is less than $75,000 to avoid removal, the allegations of the
  4   Complaint show otherwise. As Plaintiffs seek relief of the subject property and
  5   loan, the amount in controversy may be determined by the value of the object of
  6   the litigation, i.e., the loan amount. Hunt v. Wash. State Apple Adver. Comm’n,
  7   432 U.S. 333 (1997); see also Brady v. Mercedes-Benz USA, Inc., 243 F.Supp.2d
  8   1004 (N.D. Cal., 2002); Munger v. Moore, 11 Cal.App.3d 1 (1970). In particular,
  9   the Notice of Default states the amount due is $79,304.46. (Complaint, Ex. C; see
 10   also Complaint, ¶¶20-21 [balance exceeds $100,000].)              Plaintiff claims
 11   entitlement to a complete rescission of the loan.         (Complaint, ¶38.)     The
 12   reinstatement amount alone is nearly $80,000. (Complaint, Ex. C [reinstatement
 13   is $79,304.46 as of July 23, 2021].) In addition, Plaintiff claims attorneys’ fees.
 14   (Complaint, ¶45.) Therefore, the amount in controversy exceeds $75,000.
 15         15.    Accordingly, this action is properly removed to this Court pursuant to
 16   28 U.S.C. § 1441(b).
 17                                        VENUE
 18         16.    Pursuant to 28 U.S.C. § 1441(a) the United States District Court for
 19   the Central District of California is the proper venue for removal of the State
 20   Court Action because it is the judicial district and division in which State Court
 21   Action is pending.
 22                                        NOTICE
 23         17.    Aside from the October 3, 2022 Case Management Conference, there
 24   are no hearings scheduled in the State Court Action. Concurrently with the filing
 25   of this Notice, Defendants shall cause to be filed a copy of this Notice of Removal
 26   with the Clerk of the Superior Court of California for the County of Riverside. A
 27   true and correct copy of the docket for the State Court Action is attached hereto as
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  1   Exhibit B. A copy of the Notice of Removal to be filed in the State Court Action
  2   is attached hereto as Exhibit C.
  3                            RESERVATION OF RIGHTS
  4         18.    Defendants reserve the right to supplement this Notice when, and if,
  5   additional information becomes available. In addition, Defendants reserve all
  6   rights, including, but not limited to, defenses and objections as to venue, personal
  7   jurisdiction, and service. The filing of this Notice is subject to, and without
  8   waiver of, any such defense or objection.
  9         WHEREFORE, Defendants pray that the State Court Action be removed
 10   from the California Superior Court to this Court and that this Court assume
 11   jurisdiction over – and determine – the action on the merits.
 12

 13   Dated: April 26, 2022                       HOUSER LLP
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                                           By:
 15                                               Neil J. Cooper
                                                  Attorneys for Defendants
 16                                               Specialized Loan Servicing, LLC and
                                                  Gulf Harbour Investments Corporation
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                                   PROOF OF SERVICE

  2         I am employed in the County of Orange, State of California. I am over the
  3   age of 18 and not a party to the within action. My business address is 9970
      Research Drive, Irvine, CA 92618.
  4

  5         On April 26, 2022 I served the following document(s) described as follows:

  6 NOTICE OF REMOVAL OF ACTION ON THE BASIS OF FEDERAL
      QUESTION AND DIVERSITY JURISDICTION
  7

  8         On the following interested parties in this action:
      Tony Cara, Esq.
  9   Peter Nisson, Esq.
 10   CDLG, PC
      2973 Harbor Blvd., Suite 594
 11   Costa Mesa, CA 92626
 12   P: (888) 615-6765
      F: (888) 660-8874
 13   Attorney for Plaintiff
 14
            VIA OVERNIGHT MAIL/COURIER—CCP §§ 1013(c), 2015.5: By placing
 15         a true copy thereof enclosed in a sealed envelope, addressed as above, and
 16         placing each for collection by overnight mail service or overnight courier
            service. I am readily familiar with my firm’s business practice of collection
 17         and processing of correspondence for mailing with the processing of
 18         correspondence for overnight mail or overnight courier service, and any
            correspondence placed for collection for overnight delivery would in the
 19         ordinary course of business, be delivered to an authorized courier or delivery
 20         authorized by the overnight mail carrier to receive documents, with delivery
            fees paid or provided for, that same day for delivery on the following business
 21         day.
 22
             I declare under penalty of perjury, under the laws of the State of California
 23   that the foregoing is true and correct.
 24
            Executed on April 26, 2022 at Irvine, California.
 25

 26
                                                    __________________________
 27                                                 Jasmine Blanco
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                                      PROOF OF SERVICE
